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                                                                   Ex. A-3
                              Susan M. King, et al. v. Islamic Republic of Iran, No. 1:22-cv-05193 (GBD) (SN)

                                             (Alphabetically by Last Name of 9/11 Decedent)

                      DECEDENT                                 PLAINTIFF                              Relationship   SOLATIUM
         DECEDENT                    DECEDENT     PLAINTIFF                  PLAINTIFF    PLAINTIFF
                       Middle                                   Middle                                  to 9/11      DAMAGES
         First Name                  Last Name    First Name                 Last Name      Suffix
                        Name                                     Name                                  Decedent       AMOUNT

    1.     Ayleen        J.           Santiago      Ayleen         J.         Arroyo                     Child        $8,500,000.00

    2.     Ayleen        J.           Santiago      George         J.         Santiago                   Child        $8,500,000.00

                                                                                                        Spouse
    3.     Ayleen        J.           Santiago      George                    Santiago                               $12,500,000.00
                                                                                                      (Deceased)


         TOTAL                                                                                                       $29,500,000.00




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